Case 2:17-cv-12132-SDW-LDW Document 33-1 Filed 03/11/19 Page 1 of 3 PageID: 96



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 Attorneys for Plaintiff, COMSAT, INC.

                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

                                                :
 COMSAT, INC., a Delaware Corporation,
                                                :
               Plaintiff,
                                                :      Civil Action No. 17-cv-12132(SDW)(LDW)
 v.
                                                :
 PENTAGON PERFORMANCE, INC.,                           DECLARATION IN SUPPORT OF
 a New Jersey Corporation,                      :      ENTRY OF DEFAULT JUDGMENT

               Defendant.                       :

                                                ::



        Robert J. Brener declares as follows:

        1.     I am a member of the firm LeClairRyan PLLC and counsel for Plaintiff

 COMSAT, INC. I submit this Declaration in support of COMSAT’S application for entry of

 Default Judgment pursuant to Fed. R. Civ. P. 55(b).

        2.     On or about March 15, 2017, COMSAT entered into an agreement with defendant

 Pentagon Performance, Inc. (“PPI”) whereby COMSAT agreed to provide satellite connectivity

 services to PPI in exchange for PPI’s promise to pay $2,614,605.

        3.     COMSAT provided satellite connectivity services to PPI in accordance with the

 parties’ agreement.
Case 2:17-cv-12132-SDW-LDW Document 33-1 Filed 03/11/19 Page 2 of 3 PageID: 97



         4.      PPI accepted the satellite connectivity services provided by COMSAT without

 complaint.

         5.      On March 15, 2017, COMSAT issued an invoice (the “Invoice”) to PPI detailing

 the services provided and the agreed upon payment. A true copy of the Invoice is attached

 hereto as Exhibit A.

         6.      The Invoice obligated PPI to make one payment of $2,353,145 (90%)

 immediately, and a second payment of $261,460 (15%) on or before June 15, 2017.

         7.      Sometime between March 15, 2017 and March 29, 2017, the parties agreed to

 revise the payment schedule such that $2,222,414 (85%) was due immediately, and $392,190

 (15%) was due on or before June 15, 2017.

         8.      On or about March 29, 2017, PPI paid to COMSAT the sum of $2,222,414.

         9.      PPI failed to pay the remaining amounts due under the parties’ agreement as

 reflected in the Invoice, specifically the amount of $392,190 due on or before June 15, 2017.

         10.     By email dated November 16, 2017, COMSAT made written demand for the

 amounts due and owing.

         11.     Despite this demand, PPI has failed and refused to pay the outstanding amount.

         12.     COMSAT filed the Complaint in this action seeking payment of the $392,190 due

 and owing COMSAT. After PPI’s counsel withdrew and PPI failed to obtain new counsel and

 PPI having failed to appear for depositions, the Court entered an order for entry of default.

         13.     The Clerk entered default in favor of COMSAT and against PPI on February 7,

 2019. PPI has not appeared since entry of default and has not taken any action demonstrating an

 intent to defend itself.

         14.     As a result, and based on foregoing, COMSAT seeks default judgment in favor of



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Case 2:17-cv-12132-SDW-LDW Document 33-1 Filed 03/11/19 Page 3 of 3 PageID: 98



 COMSAT and against PPI in the total sum certain of $392,190.00 and reserves the right pursuant

 to the Federal Rules of Civil Procedure and the Local Rules of this District to seek fees and

 costs, including attorneys’ fees, at a later date. A copy of the proposed judgment is filed along

 with this Declaration.

 Dated: March 11, 2019


                                             s/Robert J. Brener
                                              Robert J. Brener




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